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                     EXHIBIT I
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                  ABOUT          PRACTICE AREAS                                                ATTORNEYS                       CONTAC T




                                                                                  M AT T H E W K . F E LT Y
                                                                                  DIRECTOR




Phone: 405.235.7471                             Matthew Felty is a director at Lytle Soulé & Felty, P.C. Recognized by Super Lawyers as a Rising Star
Email: mkfelty@lytlesoule.com
                                                from 2016 to present, Mr. Felty has extensive experience in complex litigation in state and federal
                                                court in Oklahoma. He has represented both companies and individuals across a variety of practice
                                                areas including oil and gas, manufacturers’ products liability, insurance coverage, catastrophic personal
PR AC T I C E A R E A S                         injury, complex commercial disputes, aviation disputes, engineering and construction litigation, and
Click a practice area for more information.     Indian law with an emphasis on Oklahoma’s State-Tribal Gaming Act and the federal Indian Gaming
                                                Regulatory Act.
Commercial Law


Construction, Architectural & Engineering Law   In addition, Mr. Felty routinely serves as local counsel for firms from larger markets, such as New
                                                York and Texas, providing around the clock assistance on matters ranging from subpoena and
Indian Law
                                                discovery disputes to brief preparation, as well as hearing attendance and argument.

Oil & Gas and Energy Law
                                                Finally, in his role as plaintiff’s counsel, Mr. Felty has successfully recovered over eight figures in
Personal Injury                                 settlements for clients since 2012, on matters ranging from the representation of individuals who
                                                have been catastrophically injured to the representation of companies in tort and contractual
Product Safety & Liability
                                                disputes.
                                                        BACKGROUND
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                                                               University of Oklahoma (B.A., Public Administration, 2009)

                                                               University of Oklahoma College of Law (J.D., 2012)



                                                        MEMBERSHIPS & AFFILIATIONS
                                                               Admitted to bar, Oklahoma (2012)

                                                               United States District Courts for the Western, Northern, and Eastern Districts of Oklahoma

                                                               United States Court of Appeals, Tenth Circuit

                                                               Cherokee Nation Tribal Court

                                                               Super Lawyers – Rising Stars (2016-2023)

                                                               Oklahoma Bar Association

                                                               Oklahoma County Bar Association

                                                               Mineral Lawyers Society of Oklahoma City

                                                               Board of Trustees, Oklahoma Lottery Commission (2014-19, Chairman (2019))



                                                        HONORS
                                                               OKC’s Best Lawyers (Oil & Gas) – 405 Magazine (2022-2023)

                                                               SuperLawyer (General Litigation), SuperLawyers Magazine (2016-2023)




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